Case 1:21-cr-O0060-CKK Document 79 Filed 11/08/22 Page 1 of 2

UNITED STATES DISTRICT COURT

DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA §
v, CRIMINAL NO, 1:21-CR-00060-CKK
JESUS D. RIVERA :

DEFENDANT’S NOTICE OF APPEAL

TO THE HONORABLE CHIEF UNITED STATES DISTRICT JUDGE:
COMES NOW Defendant, through Counsel, and announces his intent to appeal his

conviction, the adverse ruling on his motions In Limine and for a judgment of acquittal, and

sentence.

Very respectfully,

Ae LB
Guy L. Womack
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Houston, Texas 77007
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Case 1:21-cr-O0060-CKK Document 79 Filed 11/08/22 Page 2 of 2

CERTIFICATE OF SERVICE

I certify that a trug and correct copy of the foregoing was served on Government Counsel
via CM/ECF, on this ¥ day of November, 2022.

- ABC. MeL

uf LL. Womack
